                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA
                                   ABINGDON DIVISION

                       CRIMINAL MINUTES – BOND REVIEW HEARING


Case No.: 1:19CR21 and 1:19CR47                              Date: 5/19/2020


Defendant: Robert Osborne, Custody via Video              Counsel: Mark Haugh, Retained via Video
Conference                                                Conference



PRESENT:     JUDGE:                     James P. Jones via Video Conference
TIME IN COURT: 12:57 – 1:49 p.m. (52 minutes)
             Deputy Clerk:              Felicia Clark via Video Conference
             Court Reporter:            Donna Prather, OCR via Video Conference
             U. S. Attorney:            Suzanne Kerney-Quillen via Video Conference
             USPO:                      Jeremy Keller via Video Conference
             Case Agent:                Chris Mueller via Video Conference


                                                BOND HEARING

       Bond review hearing held in re DE 111 and 190. Defense counsel proffered evidence to the Court.
       Government proffered evidence to the Court. Oral argument by counsel. Court denied DE 111 and 190.
       Bond denied. Defendant remained in custody.
